FORT WORTH DIVISION pom ECs

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UNITED STATES DISTRICT,COURT.,...
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UNITED STATES OF AMERICA

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VS

CR US, DISTRICT COURT

HAYDEN CURTIS BEARD Deputy 4:21-CR-046-P

ORDER SETTING ADDITIONAL TERMS OF SUPERVISED RELEASE

The required Mandatory Conditions listed at 18 U.S.C. § 3583(d) and Section 5D1.3(a) of the
Guidelines Manual, including:

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You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one
drug test within 15 days of release from imprisonment and at Jeast two periodic drug tests
thereafter, as determined by the court.

OThe above drug testing condition is suspended, based on the court's
determination that you pose a low risk of future substance abuse, (check if applicable)

O You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any
other statute authorizing a sentence of restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (cheek
if applicable)

ElYou must comply with the requirements of the Sex Offender Registration and
Notification Act (34 U.S.C, § 20901, et seq.) as directed by the probation officer, the
Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense, (check if applicable)

{lYou must participate in an approved program for domestic violence. (check if
applicable)

AND

The discretionary Standard Conditions set forth by Miscellaneous Order No. 64, as well as
the below-listed "Discretionary," "Special," and "Additional" Conditions listed at Sections
5D1.3(b), (d), and (ec) of the Guidelines Manual—which, based on the facts and
circumstances of the above-referenced case, are (A) reasonably related to the factors set
forth in 18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a(2)(C), and (a)(2)(D); (B) involve no greater
deprivation of liberty than is reasonably necessary for the purposes set forth in Section
3553(a)(2)(B), (a\(2\(C), and (a)(2)(D); and (C) consistent with any pertinent policy
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statements issued by the Sentencing Commission pursuant to 28 U.S.C. § 994(a)
(“Notice”):

In addition to submitting to drug testing in accordance with the Violent Crime Control and
Law Enforcement Act of 1994, at the direction of the probation officer the defendant shall
obtain a substance abuse assessment and participate in any recommended treatment. The
treatment program must be approved by the United States Probation Office and the
program must include testing to determine whether the defendant has reverted to the use of
drugs or alcohol, At the direction of the probation officer, the defendant may be required
to pay for all or a portion of any treatment program. In addition to urinalysis testing that
may be a part of a formal drug treatment program, the defendant shall submit up to 12
urinalysis tests per month.

The defendant shall not consume any alcoholic beverages.

The defendant shall not possess or use a computer or cellular telephone with access to any
on-line service at any time (including employment) without prior written approval from
the probation officer, This includes access through any Internet service provider, bulletin
board system, e-mail system, or any public or private computer network system. The
defendant shall permit routine inspection of his/her computer system or any other computer
system maintained at the defendant’s residence to include hard drives and any media
storage materials, to confirm adherence to this condition. The inspection shall be no more
intrusive than is necessary to ensure compliance with the defendant’s conditions of
supervision, The defendant shall inform his/her employer, or other third party who may be
impacted by this condition, of this computer-related restriction and the computer inspection
provisions of the condition.

The defendant shall provide the probation officer with any requested financial information
to verify there have been no payments to an Internet Service Provider or entities that
provide access to the Internet via computer, cell phone, PDA, or other electronic media
device.

The defendant shall have no contact with any person under the age of 18 years without
adult supervision, including his/her own family members, nor attempt contact except under
circumstances approved in advance and in writing by the probation officer in consultation
with the defendant’s treatment provider.

The defendant shall not seek employment, engage in leisure activities or loiter near places
designated primarily for minors such as schools, parks, and arcades, which may bring the
defendant into unsupervised contact with any person under the age of 18 years. Contact is
defined as any transaction occurring face to face, over the telephone, via mail, over the
internet, and any third party communication.

The defendant shall not be employed in any capacity which is likely to cause the defendant
to come into unsupervised contact with children, except under circumstances approved in
advance by the supervising probation officer. The defendant shall not participate in any
volunteer activity that may cause the defendant to come into direct contact with children,
except under circumstances approved in advance by the defendant’s probation officer.
The defendant shall not possess any material showing sexually explicit conduct as defined
under 18 U.S.C, § 2256 or as deemed inappropriate by his probation officer and/or
treatment provider, or patronize any location or website where such material or
entertainment is featured. To assist in monitoring this condition, the defendant shall allow,
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at the defendant’s expense, the probation office to install monitoring software or hardware
on any computer(s) or electronic device(s) in order to determine adherence to this
condition. Further, the defendant shall provide the probation officer with any requested
financial information to verify any Internet Service Provider account information or entities
that provide access to the Internet via computer, cellular telephone, tablet, or any other
electronic media device,

The defendant shall conform with sex offender registration laws and other laws which exist
in any jurisdiction where he resides or visits, within 24 hours of release on supervision or
any change in circumstances.

The defendant shall submit to a warrantless search of person, residence, vehicle, personal
effects, place of employment, and other property by a federal probation or pretrial services
officer or other law enforcement officer, based upon reasonable suspicion of contraband, a
violation of a condition of supervision, or a violation of law. Contraband includes, but is
not limited to, any computers, electronic media, videotapes, CD’s, DVD’s, Zip drives,
PDA’s or other electronic media storage device that may include images of child
pornography. Failure to submit to a search may be grounds for revocation.

The defendant shall participate in a program of sex offender assessment and treatment, as
directed by the probation officer, until such time as he is released from the program. This
assessment, treatment and the entirety of supervised release may include physiological
testing such as polygraph to assist in planning, case monitoring, and supervision, At the
direction of the probation officer, the defendant may be required to pay for all or a portion
of any treatment program. Any refusal to submit to such assessment or tests as scheduled
is a violation of the conditions of release, The defendant shall waive his right of
confidentiality in treatment and sign any necessary releases for any records imposed as a
consequence of this judgment to allow the supervising United States Probation Officer to
review the defendant's course of treatment and progress with the treatment provider(s).
Foliowing completion of any sex offender treatment program, the defendant shall continue
to submit to polygraph examination at the direction of the probation officer to assist with
monitoring any perceived risks of danger to the community and adherence to the terms and
conditions of supervision. At the direction of the probation officer, the defendant may be
required to pay for all or a portion of any polygraph testing.

Until such time that the fine and/or restitution is paid in full, the defendant shall provide
the probation officer access to any requested financial information, including authorization
to conduct credit checks, and shall not incur any new debts or apply for credit without the
prior approval of the probation officer.

At the direction of the probation officer the defendant shall obtain a mental health
assessment and participate in any recommended mental health treatment. The treatment
program must be approved by the United States Probation Office. At the direction of the
probation officer, the defendant may be required to pay for ali or a portion of any treatment
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Hayden Curtis Beard, Defendant

